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 1   BRUCE LOCKE (#177787)
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 3   (916) 569-0667
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 4   Attorneys for
     TIAN BAO GUO
 5
 6                           IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )               No. CR. 08-543 GEB
                                         )
 9                     Plaintiff,        )
                                         )               STIPULATION TO CONTINUE THE
10                                       )               DATE FOR SENTENCING
           v.                            )
11                                       )
     TIAN BAO GUO,                       )
12                                       )
                       Defendant.        )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendant, Tian Bao Guo, by
15   and through his defense counsel, Bruce Locke, and the United States of America by and through its
16   counsel, Assistant United States Attorney Michael Beckwith, that the date for sentencing presently
17   set for December 4, 2009 at 9:00 a.m., should be continued to December 18, 2009 at 9:00 a.m.
18           Mr. Beckwith has authorized Mr. Locke to sign this pleading for him.
19
20   DATED: November 30, 2009                           /S/
                                                  BRUCE LOCKE
21                                                Attorney for Tian Bao Guo
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23
     DATED: November 30, 2009                        /S/ Bruce Locke
24                                                For MICHAEL BECKWITH
                                                  Attorney for the United States
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29                                                   1
            Case 2:08-cr-00543-KJM Document 159 Filed 12/01/09 Page 2 of 2


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           IT IS SO ORDERED.
 6
 7   Dated: November 30, 2009

 8
 9                                   GARLAND E. BURRELL, JR.
                                     United States District Judge
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